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                             UNITED STATES DISTRICT COURT
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                 CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
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      BARRY LUQUE,                               Case No. EDCV 19-2059-RGK (AS)
11
                          Plaintiff,
12                                               ORDER ACCEPTING FINDINGS,
            v.
13                                               CONCLUSIONS AND
      COUNTY OF SAN BERNARDINO, et
14    al.,                                       RECOMMENDATIONS OF UNITED
15                        Defendants.            STATES MAGISTRATE JUDGE
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17
           Pursuant to 28 U.S.C. section 636, the Court has reviewed the
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      Complaint,    all    of   the    records    herein,   and    the   Report    and
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      Recommendation of United States Magistrate Judge, to which no
20
      objections    were    filed.      Accordingly,     the   Court     accepts   the
21
      findings, conclusions and recommendations of the Magistrate Judge.
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23
           IT IS ORDERED that Judgment shall be entered DISMISSING this
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      action with prejudice.
25
      //
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      //
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28    //
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  1        IT IS FURTHER ORDERED that the Clerk serve copies of this
  2   Order and the Judgment on Plaintiff at his current address of
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      record.
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  5        LET JUDGMENT BE ENTERED ACCORDINGLY.

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           DATED:    9/25/2020
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                                               _____________ _____________
10                                                   R. GARY KLAUSNER
                                               UNITED STATES DISTRICT JUDGE
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